20-23284-rdd           Doc 10     Filed 02/09/21 Entered 02/09/21 11:02:30           Main Document
                                               Pg 1 of 9


Howard P. Magaliff, Trustee
335 Madison Avenue, 9th Floor
New York, NY 10017
646.453.7851

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
In re:                                                          :   Chapter 7
                                                                :
ARCTIC AIR HEATING AND COOLING                                  :   Case No. 20-23284 (RDD)
INSTALLATION LLC,                                               :
                                                                :
                                    Debtor.                     :
--------------------------------------------------------------- x


            APPLICATION FOR ORDER AUTHORIZING THE TRUSTEE TO
          RETAIN RICH MICHAELSON MAGALIFF, LLP AS HIS ATTORNEYS

TO THE HONORABLE ROBERT D. DRAIN,
UNITED STATES BANKRUPTCY JUDGE:

                  Howard P. Magaliff, the chapter 7 trustee (the “Trustee”) of the estate of the

above-named Debtor, respectfully states:

                  1.       The Debtor filed a voluntary petition for relief under chapter 7 of the

Bankruptcy Code on December 21, 2020 (the “Petition Date”). The Trustee was appointed as

the chapter 7 interim trustee of the Debtor, duly qualified and pursuant to section 702(d) of the

Bankruptcy Code is the trustee.

                  2.       This Application is submitted pursuant to sections 327(a) and (d) of the

Bankruptcy Code, Rule 2014 of the Federal Rules of Bankruptcy Procedure and Local Bankrupt-

cy Rule 2014-1 for an order authorizing the Trustee to retain the law firm of Rich Michaelson

Magaliff, LLP (“R3M”) as his attorneys in connection with the administration of the case.

                  3.       Professional legal services required on behalf of the Trustee and the estate

include, but are not limited to:




{00034047v2 }
20-23284-rdd         Doc 10     Filed 02/09/21 Entered 02/09/21 11:02:30             Main Document
                                             Pg 2 of 9



                        a.       Assisting the Trustee to identify, marshal and liquidate the assets
                                 of the Debtor and property of the estate;

                        b.       Investigating the financial affairs of the Debtor, and commencing
                                 appropriate actions to recover assets and other contested matters, if
                                 any;

                        c.       Initiating and litigating objections to claims if a purpose would be
                                 served; and

                        d.       All other services that the Trustee considers necessary to fulfill his
                                 statutory and fiduciary duties.

                4.      The Trustee seeks to retain R3M to provide these services because the

firm’s attorneys have considerable experience in matters of this nature and have represented par-

ties in interest including trustees, debtors, and secured and unsecured creditors in numerous

bankruptcy cases.

                5.      The attorneys at R3M are admitted to practice before this Court and are

qualified to act as the Trustee’s attorneys, as more particularly set forth in the Declaration of

Howard P. Magaliff, a member of R3M, attached as Exhibit 1. To the best of the Trustee’s

knowledge and except as set forth below and as otherwise disclosed in the Declaration, (i) R3M

does not hold or represent any interest adverse to the Trustee with respect to the matters for

which it is being retained; (ii) R3M is a “disinterested person” as that phrase is defined in section

101(14) of the Bankruptcy Code; (iii) neither R3M nor its professionals have any connection

with the Debtors, the estate, or creditors; and (iv) R3M’s employment is necessary and in the

best interests of the estate.

                6.      R3M will be employed under a general retainer. R3M will charge its cus-

tomary billing rates for services rendered subject to approval of this Court in accordance with

sections 330 and 331 of the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, the

Local Bankruptcy Rules and any orders of the Bankruptcy Court. The current hourly rates of

R3M’s attorneys range from $675 to $725, and the paralegal rate is $310. These rates are re-
                                                    2
{00034047v2 }
20-23284-rdd           Doc 10   Filed 02/09/21 Entered 02/09/21 11:02:30           Main Document
                                             Pg 3 of 9



viewed and may be adjusted in January of each year. R3M will advise the Trustee, the Court and

the United States Trustee in writing of any rate change during the course of this engagement. In

addition, R3M will seek reimbursement for actual and necessary expenses incurred in connection

with its professional services. R3M will not share any fees it earns other than as permitted by

section 504 of the Bankruptcy Code.

                  7.      Notice of this Application has been given to the Office of the United

States Trustee.

                  8.      No previous application has been made for the relief requested.

                  WHEREFORE, the Trustee respectfully requests that he be authorized to retain

R3M as his attorneys in this case effective as of the Filing Date, and that the Court enter the pro-

posed order in the form attached as Exhibit 2, together with such other and further relief as is ap-

propriate.

Dated:     New York, New York
           February 8, 2021
                                                        /s/ Howard P. Magaliff
                                                        Howard P. Magaliff, Trustee
                                                        335 Madison Avenue, 9th Floor
                                                        New York, NY 10017
                                                        646.453.7851
                                                        trustee@r3mlaw.com




                                                   3
{00034047v2 }
20-23284-rdd    Doc 10   Filed 02/09/21 Entered 02/09/21 11:02:30   Main Document
                                      Pg 4 of 9



                                    EXHIBIT 1




{00034047v2 }
20-23284-rdd           Doc 10     Filed 02/09/21 Entered 02/09/21 11:02:30           Main Document
                                               Pg 5 of 9



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
In re:                                                          :   Chapter 7
                                                                :
ARCTIC AIR HEATING AND COOLING                                  :   Case No. 20-23284 (RDD)
INSTALLATION LLC,                                               :
                                                                :
                                    Debtor.                     :
--------------------------------------------------------------- x

                  I, Howard P. Magaliff, declare pursuant to 28 U.S.C. § 1746 that the following is

true to the best of my knowledge, information and belief:

                  1.       I am a partner of Rich Michaelson Magaliff, LLP (“R3M”), located at 335

Madison Avenue, 9th Floor, New York, NY. I am a member in good standing of the Bar of the

State of New York and admitted to practice in the Southern District of New York.

                  2.       To the best of my knowledge, the attorneys of R3M have no connection

with the Debtor or any creditors in this case. R3M does not represent any interest adverse to that

of the Trustee or the estate in the matters upon which it is to be engaged. R3M, while employed

by Trustee, will not represent any individual creditor in any capacity in connection with this

case.

                  3.       Because of the foregoing, I believe that the attorneys of R3M are disinter-

ested persons, and the firm is disinterested. I know of no reason why R3M cannot act as counsel

to the Trustee in this case.

                  4.       Consistent with the standards of sections 330 and 331 of the Bankruptcy

Code, R3M will seek compensation at its customary hourly billing rates, which currently range

from $310 to $725. Our rates are reviewed and may be adjusted in January of each year. R3M

will advise the Trustee, the Court and the United States Trustee in writing of any rate change

during the course of this engagement. In addition, R3M will seek reimbursement for actual and



{00034047v2 }
20-23284-rdd       Doc 10     Filed 02/09/21 Entered 02/09/21 11:02:30             Main Document
                                           Pg 6 of 9



necessary expenses incurred in connection with its professional services. R3M will not share

any fees it earns other than as permitted by section 504 of the Bankruptcy Code.

                I declare under penalty of perjury that the foregoing is true and correct.


Dated:     New York, New York
           February 8, 2021
                                                       /s/ Howard P. Magaliff
                                                       Howard P. Magaliff




                                                  2
{00034047v2 }
20-23284-rdd    Doc 10   Filed 02/09/21 Entered 02/09/21 11:02:30   Main Document
                                      Pg 7 of 9



                                    EXHIBIT 2




{00034047v2 }
20-23284-rdd         Doc 10       Filed 02/09/21 Entered 02/09/21 11:02:30          Main Document
                                               Pg 8 of 9



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
In re:                                                          :   Chapter 7
                                                                :
ARCTIC AIR HEATING AND COOLING                                  :   Case No. 20-23284 (RDD)
INSTALLATION LLC,                                               :
                                                                :
                                    Debtor.                     :
--------------------------------------------------------------- x


                   ORDER AUTHORIZING THE TRUSTEE TO RETAIN
                RICH MICHAELSON MAGALIFF, LLP AS HIS ATTORNEYS

                  Upon the application (the “Application”) dated February 8, 2021 of Howard P.

Magaliff, the chapter 7 interim trustee (the “Trustee”) of the estate of the above-named Debtor,

for authority to retain the law firm of Rich Michaelson Magaliff, LLP (“R3M”) as his attorneys

in connection with the administration of the case pursuant to sections 327(a) and (d) of the Bank-

ruptcy Code, Rule 2014 of the Federal Rules of Bankruptcy Procedure and Local Bankruptcy

Rule 2014-1; and upon the Declaration of Howard P. Magaliff submitted in compliance with the

Local Rules of this Court; and it appearing that R3M is disinterested within the meaning of sec-

tion 101(14) of the Bankruptcy Code and that R3M does not represent any interest adverse to the

estate; and notice being adequate and sufficient; and the United States Trustee having no objec-

tion to the entry of this Order; and sufficient cause appearing, it is

                  ORDERED that the Application is granted as set forth herein; and it is further

                  ORDERED that, pursuant to 11 U.S.C §§ 327(a) and (d), the Trustee is author-

ized to retain the law firm of Rich Michaelson Magaliff, LLP as his attorneys in this case; and it

is further

                  ORDERED that the compensation and reimbursement of expenses of R3M shall

be sought upon, and paid only upon an order granting, a proper application pursuant to sections



{00034047v2 }
20-23284-rdd      Doc 10     Filed 02/09/21 Entered 02/09/21 11:02:30              Main Document
                                          Pg 9 of 9



330 and 331 of the Bankruptcy Code, as the case may be, and the applicable Bankruptcy Rules,

Local Rules and fee and expense guidelines and orders of this Court; and it is further

                ORDERED that R3M shall advise the Trustee, the Court and the United States

Trustee in writing of any rate change during the course of this engagement; and it is further

                ORDERED that the Court shall retain jurisdiction to hear and determine all mat-

ters arising from the implementation of this Order; and it is further

                ORDERED that if there is any inconsistency between the terms of this Order, the

Application, and the supporting Affidavit, the terms of this Order shall govern.


Dated:     White Plains, New York
           February __, 2021
                                              Robert D. Drain
                                              United States Bankruptcy Judge



NO OBJECTION:
William K. Harrington
United States Trustee
By:

/s/ Paul Schwartzberg
Paul Schwartzberg, Trial Attorney
Dated: February 9, 2021




                                                 2
{00034047v2 }
